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David J. Brad¥ey, C.¢zk of C¢uii

 

CQNSULATE GENERAL OF RUSSIA
IN THE UNITED STATES,
Houston

Alexey V. Tarasov, Esq.
Attorney at Law
Tel.: 832-623-6250

October 05, 2012

Dear Mr. Tarasov,

With reference to your letter I State that the Consulate General of

the RuSSian Federation in Houston, TX will not aid in concealing

Anastasia Y. Diatlova DOB: ,__,_, Alekeandr Fishenko DOB
,, Viktoria Klebanova DOB: "' ` Alexander Posobilov
DOB: or removing them out of the jurisdiction of the

United States if they are to be released pending trial.

Sincerely,

Aleksandr Zakharov

Consul General of Russia
Tel.: (713) 337-3300 ext. 307
Fax: (713) 337~3305
www.rusconshouston.org

 

1333 West Loop South, Ste. 1300, Houston, TX 7`7027
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